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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 K.O. and E.O., Jr., by and through their parents
 and next friends, E.O. and L.J.; and C.J., by and
 through his father and next friend F.C.,

                 Plaintiffs,
                                                     Civil Action No. 4:20-12015-MRG
          v.

 United States of America,

                 Defendant.




                         DEFENDANT’S MOTION TO
                 PRECLUDE PLAINTIFFS FROM INCREASING THE
           SUM CERTAIN DEMANDED IN THEIR ADMINISTRATIVE CLAIM

         Defendant, United States of America, by and through its attorney, Rachael S. Rollins,

United States Attorney for the District of Massachusetts, herein moves this Court to Preclude

Plaintiffs from Increasing the Sum Certain Demanded in their Administrative Claim. As grounds

therefore Defendant states the Federal Tort Claims Act (FTCA) requires, before filing this action,

that Plaintiffs submitted an administrative claim specifying the amount of damages that they

sought to recover. A claimant may not, however, increase its damages request absent new and

material information that was not previously available. See 28 U.S.C. § 2675(b). Plaintiffs have

not made, and cannot make, that showing. Accordingly, given the threshold importance of locking

in a sum certain to guiding settlement discussions and structuring the scope of discovery,

Defendant, through this motion and supporting memorandum of law, respectfully requests an order

precluding Plaintiffs from increasing their demand beyond the cap identified in their administrative

claim.
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                                                     RESPECTFULLY SUBMITTED

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney


                                              By:    /s/ Rayford A. Farquhar
                                                     RAYFORD A. FARQUHAR
                                                     Assistant United States Attorney
                                                     Michael Fitzgerald
                                                     Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Rayford A. Farquhar
                                                     RAYFORD A. FARQUHAR
                                                     Assistant U.S. Attorney

Dated: May 8, 2023


                            LOCAL RULE 7.1 CERTIFICATION

        I, Rayford A. Farquhar, Assistant United States Attorney, herein state that the issues
raised in this motion were discussed with counsel for Plaintiffs on numerous occasions, and
raised during a Status Conference before this Court, and the parties were not able to resolve the
issues raised herein.

                                                     /s/ Rayford A. Farquhar
                                                     RAYFORD A. FARQUHAR
                                                     Assistant U.S. Attorney




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